 

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NORTH CAROLINA

WESTERN DIVISION
MARILYN M. CH[SM, )
)
Plaintiff_, )
)
v. )
) JUDGMENT
) No. 5:15-CV-348-FL
NORTH CAROL[NA GENERAL )
ASSEMBLY_, )
)
Defendant. )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge_, for
consideration of the defendant’s motion to dismiss.

IT IS ORDERED, ADJUDGED AND DECREED in accordance With the coult’s order entered
July 15, 2016, and for the reasons set forth more specifically therein, that defendant’s motion to
dismiss is granted Plaintiff` s Title VII claims are DISMISSED WITH PREJUDICE for failure to
state a claim. PlamtifF s GERA claim is DISMISSED WITH PRE.TUDICE for lack of subj ect matter
jurisdiction The plaintiff shall have and recover nothing from this action.

This Judgment Filed and Entered on July 15, 2016, and Copies To:

Carlos E. Mahoney (via CM.ECF Notice of Electronic Filing)
Stewart W. Fisher (via CM.ECF Notice of Electronic Filing)
Charles G. Whitehead (via CM.ECF Notice of Electronic Filing)
Lars Franklin Nance (via CM.ECF Notice of Electronic Filing)

July 15, 2016 JULIE RICHARDS JOHNSTON, CLERK
/s/ Susan W. Tripp
(By) Susan W. Tripp, Deputy Clerk

 

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